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                                   STATEMENT OF FACTS

         Your affiant, Bridgit DePietto, is a Special Agent with the Federal Bureau of Investigation.
I have been in this position since February 2013. In that time, I have been a member of a
transnational organized crime squad. My primary duties include the enforcement of federal laws
related to crimes committed by transnational organizations and criminal street gangs. As a special
agent, I have conducted visual and electronic surveillance of subjects, targets, and criminal
activities; executed arrest, search, and seizure warrants; and interviewed many individuals
involved in drug trafficking, gang, and other criminal activities. Currently, I am also tasked with
investigating criminal activity in and around the Capitol grounds on January 6, 2021. As a Special
Agent, I am authorized by law or by a Government agency to engage in or supervise the prevention,
detention, investigation, or prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
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President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

        During the course of my investigations into criminal activity in and around the Capitol
grounds on January 6, 2021, I interviewed several U.S. Capitol Police officers who were assaulted
at the U.S. Capitol building while engaging with rioters who had gained access to the Capitol
Visitor Center (“CVC”). I also reviewed U.S. Capitol Police closed-circuit television (“CCTV”)
video footage obtained from U.S. Capitol Police of the CVC and adjacent Crypt lobby in the U.S.
Capitol building. In doing so, I noticed two individuals, later identified as JAMIE BUTEAU and
JENNIFER PECK BUTEAU (“JENNIFER BUTEAU”), who entered the U.S. Capitol building
and CVC. In addition to entering the Capitol Building, my investigation revealed that JAMIE
BUTEAU assaulted federal officers by throwing a chair at USCP Officers C.S. and C.N., hitting
Officer C.N.

        More specifically, U.S. Capitol Police CCTV and video obtained from social media site
Parler shows JAMIE BUTEAU and JENNIFER BUTEAU in the U.S. Capitol building as follows:

   •   At around 2:25 p.m. JAMIE BUTEAU and JENNIFER BUTEAU enter the U.S. Capitol
       building through a broken door in the Senate Wing of the Capitol building.
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•   From around 2:29 to 2:31 p.m. JAMIE BUTEAU and JENNIFER BUTEAU remain near
    an elevator lobby between the Crypt and the CVC, during which time JAMIE BUTEAU
    throws a chair at U.S. Capitol Police Officers C.S. and C.N., who were retreating from the
    rioters as doors roll down in an attempt to prevent rioters from entering the CVC. Neither
    the CCTV nor the Parler video shows JAMIE BUTEAU throw the chair, but the timing of
    events as shown through both videos makes clear JAMIE BUTEAU threw the chair.




     BUTEAU, as depicted by CCTV video, while in the elevator lobby next to the Crypt,
     picks up a chair as doors roll down to block the Crypt off from the CVC.
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    JAMIE BUTEAU with the chair as an officer retreats under the closing door.




         Chair thrown by JAMIE BUTEAU flying under the closing door.
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   JAMIE BUTEAU, as depicted in a Parler video, running after USCP Officers.




JAMIE BUTEAU winds his arm back to throw a chair at USCP officers retreating
from rioters.
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The chair thrown by JAMIE BUTEAU, out of screen but to the left of the individual in the
green baseball cap, flies toward USCP Officers C.N. and C.S.




 The chair thrown by JAMIE BUTEAU bounces off of a door and hits Officer C.N.
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     As depicted by CCTV video, seconds after JAMIE BUTEAU throws the chair, he joins
     JENNIFER BUTEAU in elevator lobby in the Crypt.

•   At around 2:31 p.m. JAMIE BUTEAU and JENNIFER BUTEAU walk down the stairs
    from the Crypt area into the CVC.




•   From approximately 2:32 p.m. to 2:39 p.m. JAMIE BUTEAU and JENNIFER BUTEAU
    remain in the upper orientation lobby of the CVC, during which time JAMIE BUTEAU
    drags another chair around the orientation lobby.
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•   At around 2:43 p.m. to 2:44 p.m. JAMIE BUTEAU and JENNIFER BUTEAU walk from
    the CVC through the Crypt, through the U.S. Capitol’s House Wing and Hall of Columns,
    and towards the South exit.
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   •   At around 2:46 p.m. JAMIE BUTEAU and JENNIFER BUTEAU exit the U.S. Capitol
       through the South Door.




     In order to identify JAMIE BUTEAU, the FBI distributed the below a photograph of
JAMIE BUTEAU as #188-AFO.
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        Tipster-1 notified the FBI that the tipster recognized #188-AFO as JAMIE BUTEAU from
a video of an interview posted on the internet, in which JAMIE BUTEAU and his wife, JENNIFER
BUTEAU, of Ocala, Florida, introduced themselves. Tipster-1 provided the link to the interview,
which was posted on www.vice.com, and was based on a segment that originally aired August 1,
2018 on HBO’s VICE News Tonight. I reviewed the interview on www.vice.com and confirmed
that the two individuals in the piece identified themselves as JAMIE BUTEAU and JENNIFER
BUTEAU, of Ocala, Florida, and resembled the two individuals I saw in the USCP CCTV and
Parler video previously discussed.

       In addition, the FBI received three tips providing information that JENNIFER BUTEAU
entered the Capitol building on January 6, 2021. Tipster-2, who remained anonymous, notified
the FBI that JENNIFER BUTEAU from Ocala, Florida, entered the U.S. Capitol building on
January 6. Tipster-2 provided the FBI with the below screenshot of a post from JENNIFER
BUTEAU’s “Jennifer Buteau” Facebook account. According to Tipster-2, JENNIFER BUTEAU
“was part of the U.S. Capitol violence. She made a live post on Facebook of her being part of the
U.S. Capitol attack. Since then, she deleted the live on her Facebook page, however this is a
screenshot of her admitting that she deleted said live Facebook post of said attack.”
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      Tipster-2 also provided the below photographs of JENNIFER BUTEAU captured from one
of JENNIFER BUTEAU’s Facebook accounts:




     The Facebook photographs shared by Tipster-2 resemble JENNIFER BUTEAU in the
CCTV video footage previously discussed.

        Tipster-3 reported that a former co-worker, M.M., was in Washington, D.C. and “had live
videos from inside of the coup but has since removed them.” Tipster-3 provided a screenshot from
a Facebook post that tags “Jennifer Buteau”, describes “[M.M.] is with Jennifer Buteau and 2
others”, and references “Jennifer” having trouble posting – presumably onto Facebook – as
indicated in the screen shot of the post below:




       Tipster-4, who remained anonymous but identified as a “family member,” reported to the
FBI that JENNIFER BUTEAU:
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               was at the US Capitol on the 6th with her husband, Jamie (sp?). She
               has been interviewed as a QANON on the news before (maybe it
               was CNN?). She is originally from Warwick, RI and currently
               resides in Ocala, FL. She has changed her Facebook demographics
               to appear as part of the Democratic Party.

        I reviewed photographs of JAMIE BUTEAU and JENNIFER BUTEAU from their driver’s
licenses issued by the Florida Department of Motor Vehicles records. The DMV photographs of
JAMIE BUTEAU and JENNIFER BUTEAU match the two individuals in the U.S. Capitol Police
CCTV and the male shown in the Parler videos previously discussed.

        On March 8, 2021, the FBI interviewed a witness from JENNIFER BUTEAU’s place of
employment who is familiar with JENNIFER BUTEAU and JAMIE BUTEAU. The witness
reviewed the below screen shots taken from the CCTV video footage of JENNIFER BUTEAU
and JAMIE BUTEAU inside the U.S. Capitol building on January 6, 2021. On reviewing the
screen shots, the witness identified JENNIFER BUTEAU and JAMIE BUTEAU in the photos.




        Based on the foregoing, your affiant submits that there is probable cause to believe that
JAMIE BUTEAU and JENNIFER BUTEAU violated 18 U.S.C. § 1752(a)(1) and (2), which
makes it a crime to (1) knowingly enter or remain in any restricted building or grounds without
lawful authority to do; and (2) knowingly, and with intent to impede or disrupt the orderly conduct
of Government business or official functions, engage in disorderly or disruptive conduct in, or
within such proximity to, any restricted building or grounds when, or so that, such conduct, in fact,
impedes or disrupts the orderly conduct of Government business or official function. As well,
there is probable cause to believe that JAMIE BUTEAU violated 18 U.S.C. § 1752(a)(4), which
makes it a crime to knowingly engage in any act of physical violence against any person or
property in any restricted building or grounds; or attempts or conspires to do so. For purposes of
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Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off, or otherwise
restricted area of a building or grounds where the President or other person protected by the Secret
Service, including the Vice President, is or will be temporarily visiting; or any building or grounds
so restricted in conjunction with an event designated as a special event of national significance.

        Your affiant submits there is also probable cause to believe that JAMIE BUTEAU and
JENNIFER BUTEAU violated 40 U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime to
willfully and knowingly (D) utter loud, threatening, or abusive language, or engage in disorderly
or disruptive conduct, at any place in the Grounds or in any of the Capitol Buildings with the intent
to impede, disrupt, or disturb the orderly conduct of a session of Congress or either House of
Congress, or the orderly conduct in that building of a hearing before, or any deliberations of, a
committee of Congress or either House of Congress; and (G) parade, demonstrate, or picket in any
of the Capitol Buildings. Additionally, there is probable cause to believe that JAMIE BUTEAU
violated 40 U.S.C. § 5104(e)(2)(F), which makes it a crime to willfully and knowingly (F) engage
in an act of physical violence in the Grounds or any of the Capitol Building.

        As well, there is also probable cause to believe that JAMIE BUTEAU violated 18 U.S.C.
§ 111(a)(1), which makes it a crime to forcibly assault, resist, oppose, impede, intimidate, or
interfere with a person designated in 18 U.S.C. § 1114, which includes certain federal officers or
employees or those assisting them, where such acts involve physical contact with the victim of that
assault, while the officer or employee is engaged in or on account of the performance of official
duties.

        Finally, your affiant submits there is probable cause to believe that JAMIE BUTEAU
violated 18 U.S.C. 231(a)(3), which makes it unlawful to commit or attempt to commit any act to
obstruct, impede, or interfere with any fireman or law enforcement officer lawfully engaged in the
lawful performance of his official duties incident to and during the commission of a civil disorder
which in any way or degree obstructs, delays, or adversely affects commerce or the movement of
any article or commodity in commerce or the conduct or performance of any federally protected
function. For purposes of Section 231 of Title 18, a federally protected function means any
function, operation, or action carried out, under the laws of the United States, by any department,
agency, or instrumentality of the United States or by an officer or employee thereof. This includes
the Joint Session of Congress where the Senate and House count Electoral College votes.




                                                      _________________________________
                                                      Special Agent Bridgit DePietto
                                                      Federal Bureau of Investigation
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Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 22nd day of June 2021.

                                                                   2021.06.22
                                                                   15:17:26 -04'00'
                                                    ___________________________________
                                                    ROBIN M. MERIWEATHER
                                                    U.S. MAGISTRATE JUDGE
